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3                         UNITED STATES DISTRICT COURT

4                       EASTERN DISTRICT OF CALIFORNIA

5

6    UNITED STATES OF AMERICA,            No. 2:06-cr-00441-09-GEB
7                  Plaintiff,
8         v.                              ORDER CONCERNING THE FAILURE OF
                                          THE UNITED STATES TO FILE A
9    VIRGILIO PINEDA,                     TIMELY RESPONSE TO AN ORDER
10                 Defendant.
11

12              The United States failed to comply with the order filed
13   on July 28, 2016. (ECF No. 567.) The United States shall file a
14   written response to the order no later than September 22, 2016.
15   Dated:    September 15, 2016
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